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 7                               UNITED STATES DISTRICT COURT
 8                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   United States of America,                       )   Case No.: No. 2:06-cr-00200-MCE
                                                     )
11                  Plaintiff,                       )   ORDER FINDING WAIVER OF
                                                     )   ATTORNEY-CLIENT PRIVILEGE
12          vs.                                      )
                                                     )   Date: September 27, 2007
13   Donald Edgecomb,                                )   Time: 8:30 a.m.
                                                     )   Judge: Hon. Morrison C. England, Jr.
14                  Defendant                        )
                                                     )
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16                                                ORDER
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18
            On motion of attorney Stephanie Ames, and GOOD CAUSE APPEARING
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     THEREFORE, the court finds that the defendant, Donald Edgecomb, has waived his attorney-
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     client privilege with counsel Stephanie Ames concerning work she performed for the defendant
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     prior to and during his change of plea and during the sentencing phase of Mr. Edgecomb’s case,
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     and has waived such privilege concerning any and all communications between Ms. Ames and
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     the defendant relating to the plea agreement, the factual basis for the plea agreement, defendant’s

25   preparation and any advisements concerning his entry of plea and sentencing, the presentence

     report, defenses, the discovery, the evidence, witness statements, pretrial and presentencing


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 1   research and investigation, departures or variances and reasons for departures or variances, and
 2   defendant’s exposure to prison time had he chosen to proceed trial.
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            IT IS SO ORDERED.
 4
     DATED: September 25, 2007
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                                              __________________________________
 6                                            MORRISON C. ENGLAND, JR
                                              UNITED STATES DISTRICT JUDGE
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